B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                       Northern District of Illinois
 In re       1600 Hicks Road, LLC                                                                             Case No.      21-07478
                                                                                     Debtor(s)                Chapter       11

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 43,262.00
              Prior to the filing of this statement I have received                                       $                 43,262.00
              Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:

               Debtor                   Other (specify):           Exotic Motors, Inc.

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods. Representation in all adversary proceedings and
                  contested matters, including motions for the use of cash collateral, for the sale of real and personal property, to
                  modify the automatic stay, for the approval of Debtor-In-Possession financing and to appoint professionals as
                  needed. To assist and represent Debtor in litigation in the State and Federal courts, where Debtor is a party or
                  seeking to become a party, or otherwise become involved to protect Debtor’s interests and rights. To assist
                  Debtor in the negotiation, formulation and drafting of a Plan of
                  Reorganization and Disclosure Statement and to represent Debtor in the confirmation process.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 15, 2021                                                                  /s/ Richard G. Fonfrias
     Date                                                                           Richard G. Fonfrias
                                                                                    Signature of Attorney
                                                                                    Fonfrias Law Group LLC
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